217 F.2d 941
    UNITED STATES of America,v.George VAN DYNE and Maurice Van Dyne, Individuals.George Van Dyne, Appellant.Maurice Van Dyne, Appellant.
    Nos. 11437, 11438.
    United States Court of Appeals, Third Circuit.
    Argued Dec. 22, 1954.Decided Dec. 28, 1954.
    
      Benjamin Chodash, Jersey City, N. J.  (Harold Krieger, Jersey City, N. J., on the brief), for and of counsel with defendants-appellants.
      Jerome D. Schwitzer, Newark, N. J.  (Warren Olney III, Asst. Gen. Counsel, Washington, D. C., Raymond Del Tufo, Jr., U. S. Atty., Newark, N. J., Alvin L. Gottlieb, Atty., Dept. of Health, Education and Welfare, Washington, D. C., on the brief), for appellee.
      Before GOODRICH and KALODNER, Circuit Judges, and LORD, District Judge.
      PER CURIAM.
    
    
      1
      This is an appeal from the refusal of the district judge to permit defendants in a criminal case to change their plea from guilty to not guilty.
    
    
      2
      The determination of the question is, of course, one for the trial judge and his order must stand unless we see an abuse of discretion.
    
    
      3
      The defendants were advised by competent counsel.  They originally pleaded not guilty, but against the advice of their counsel they changed their plea to guilty when their plea of nolo contendere was rejected by the court upon objection by the government.  It is quite clear that the matter of what plea they should make was not one which was hurried but was one which was under consideration for some time.
    
    
      4
      The trial judge gave careful consideration to the question presented.  There was no abuse of discretion here.
    
    
      5
      The judgment of the district court will be affirmed.
    
    